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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

CARLOS MANUEL AYESTAS,                 §
            Petitioner,                §
                                       §
v.                                     § Civil Action No. 4:09-CV-2999
                                       §
BOBBY LUMPKIN, Director,               §    (Death Penalty Case)
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
                  Respondent.          §

RESPONDENT’S OPPOSED MOTION TO STRIKE NEW EVIDENCE AND
ARGUMENT OR, ALTERNATIVELY, UNOPPOSED MOTION FOR LEAVE
 TO FILE SUR-REPLY TO PETITIONER’S REPLY TO RESPONDENT’S
                         ANSWER

       Petitioner Carlos Manuel Ayestas was permitted to file an amended

petition raising two new claims seven years after final judgment. First Am.

Pet. for Writ of Habeas Corpus (“Am. Pet.”), ECF No. 101. The Director filed

his answer and motion for summary judgment to Ayestas’s amended petition

as well as a supplemental answer. Resp’t’s Answer & Mot. Summary J.

(“Answer”), ECF No. 115; Resp’t’s Supp. Answer, ECF No. 121. Ayestas has

now filed a reply to the Director’s answer, in which he presents new material

facts related to his supposed diligence. Ayestas’s Reply in Support of Am. Pet.

& Opp’n Mot. Summ. J. (Reply) 1–2, ECF No. 124; Reply Ex. A–D, ECF Nos.

124-1 through 124-4. Because Ayestas presents new evidence in his reply, the

Director moves to strike the exhibits and any new argument predicated on such
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exhibits. Alternatively, the Director moves for leave to file a sur-reply in order

to address the presentation of new evidence and argument in Ayestas’s reply.

                                 ARGUMENT

I.     The Court Should Strike Ayestas’s New Evidence and Argument.

       In his July 20, 2022 reply, Ayestas argues that he was diligent in seeking

to discover the so-called Siegler memo, which he first proffered to this Court

after final judgment was entered for the second time in December 2014. See

Reply 23–42. This is, on its face, not a new argument. Indeed, three courts,

including this one, have previously found Ayestas not diligent based on the

same arguments he raises now—that he could not have discovered the Siegler

memo earlier because the Harris County District Attorney’s Office (Harris

County) withheld it as work product. See Order 4 (holding Ayestas failed to

show the Siegler memo “could not have been previously discovered through the

exercise of reasonable diligence” in that Ayestas specifically did “not allege that

the prosecutor’s file was previously unavailable to him, or that the document

was omitted from the file when it was produced”), ECF No. 63; Ayestas v.

Stephens, 817 F.3d 888, 901 (5th Cir. 2016) (holding Ayestas “did not exercise

due diligence in attempting to discover the [Siegler memo] earlier”); Ex parte

Ayestas, No. WR-69,674-02, 2020 WL 7234770, at *1 (Tex. Crim. App. Dec. 9,

2020) (unpublished) (implicitly determining Ayestas was not diligent). Ayestas

nevertheless continues to assert that he was diligent.
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      Still, there would be no need for the instant motion had Ayestas just

stopped there. But he did not. Instead, Ayestas has—for the first time in seven

years of litigating the Siegler memo claim—proffered four new exhibits

purporting to establish his diligence. See Reply Ex. A–D. The exhibits include:

1998 billing records from Ayestas’s state habeas counsel Gary Hart, Reply Ex.

A; 1998 billing records from Ayestas’s state habeas investigator, Reply Ex. B;

a 1998 letter from Hart to Harris County, Reply Ex. C; and a declaration from

Hart, signed on July 18, 2022, Reply Ex. D. Ayestas argues these exhibits prove

“not only that state post-conviction counsel diligently reviewed [the Harris

County District Attorney Office’s] file” on four occasions in 1998, but also that

Harris County “removed work product and other confidential material.” Reply

2. He proffers these new exhibits and argument with his reply brief, no less.

      This Court has held that “[p]arties may generally not raise new legal

arguments in reply briefs because it deprives the non-movant of the

opportunity to meaningfully respond to the argument.” Austin v. City of

Pasadena, No. H-21-774, 2021 WL 9037112, at *3 (S.D. Tex. Oct. 26, 2021)

(unpublished) (holding defendants’ motion to dismiss the plaintiffs’ cause of

action on a particular theory of liability, where argument in favor of dismissal

was not mentioned until a reply brief, was “not properly before the Court”);

United States v. Ferguson, No. 4:20-CV-504, 2022 WL 861507, at *2 (S.D. Tex.

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Mar. 23, 2022) (unpublished) (“Arguments and evidence need to be advanced

in the motion itself; the problem with new arguments in replies is that the

other side is not entitled to a response.”); cf. United States v. Hoffman, 901 F.3d

523, 552 n.16 (5th Cir. 2018) (“The reason we do not allow new arguments in a

reply is that the other side does not have a chance to respond.”); Jones v. Cain,

600 F.3d 527, 541 (5th Cir. 2010) (“Arguments raised for the first time in a

reply brief are generally waived.”).

      “When new arguments are raised in a reply, a court may strike them or

grant the nonmovant leave to file a surreply.” See Spedag Americas, Inc. v.

Bioworld Merch., Inc., No. 3:17-CV-0926-BT, 2019 WL 4689011, at *1 (N.D.

Tex. Sept. 25, 2019) (unpublished); see also Truex v. Hearst Commc’n, Inc., 96

F. Supp. 2d 652, 665 n.8 (S.D. Tex. 2000) (granting plaintiff’s motion to strike

additional ground for relief on retaliation claim and granting plaintiff’s motion

to strike additional evidence submitted with reply); Simmons v. T-Mobile USA,

Inc., H-06-1820, 2006 WL 3447684, *1 (S.D. Tex. Nov. 22, 2006) (unpublished)

(Atlas, J.) (denying defendants’ motion to strike the new affidavits offered by

plaintiffs with their reply but granting leave to file sur-reply “to address what

it characterizes as [Plaintiff’s] new evidence”); cf. United States v. Ulasi, No.

H-17-1164, 2018 WL 6505397, at *4 (S.D. Tex. Dec. 11, 2018) (unpublished)

(Rosenthal, J.) (granting government’s motion to strike defendants’ sur-reply

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because government’s reply “raised no new arguments or evidence” and a sur-

reply was thus unwarranted); United States v. Washington, 442 F. App’x 130,

132 (5th Cir. 2011) (unpublished) (granting Government’s motion to strike “a

portion of [the defendant’s] reply brief in which [the defendant] sought to

introduce new evidence before this court”).

      While striking a petitioner’s pleadings or exhibits may be an extreme

measure, it is appropriate here. Ayestas has been litigating his diligence vis-à-

vis the Siegler memo for seven years. Yet for the first time in seven years, he

now argues that he did, in fact, look at Harris County’s file at some point prior

to 2014. Reply 1 (citing Reply Ex. A–D). For the first time in seven years, he

argues Harris County made an affirmative representation that it would

withhold work product from the publicly viewable State’s file (though he still

offers no evidence suggesting Harris County specifically withheld the Siegler

memo as work product). Id. at 1–2 (citing Reply Ex. C–D). For the first time in

seven years, he argues that state habeas counsel did not see the Siegler memo

in the State’s file in 1998. Id. at 2 (citing Reply Ex. D). And not only does he

make these arguments for the first time in seven years, he did not even raise

them or present supporting evidence until he filed a reply brief. 1


1      Ayestas appears to acknowledge the impropriety of his actions by suggesting
he can amend his petition to include this evidence and argument. See Reply 1 n.1.
But the Director has answered Ayestas’s petition, and thus, Ayestas can only amend
his petition through party consent or with leave of Court. See Fed. R. Civ. P. 15(a)(2);
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      Ayestas cannot claim unfair surprise—he cannot pretend he didn’t know

what the relevant issues were until the Director filed his answer in July 2022.

Indeed, six years ago, the Fifth Circuit explicitly faulted Ayestas for “never

suggest[ing that] he sought to examine the prosecution’s file prior to the

December 22 search that uncovered the memorandum.” Ayestas, 817 F.3d at

900. He thus has no legitimate excuse for just now attempting to remedy his

argument and evidentiary deficiency for the first time in seven years. This is

particularly true where the evidence has largely been available since,

apparently, 1998 and where he relies on state habeas counsel’s twenty-year-

old memory.

      In short, Ayestas dawdled for nearly a decade, failing to develop the

readily available evidence he claims is so relevant. Were it evidence concerning




see also R. 12 of the Rules Governing Section 2254 Cases for the United States District
Courts (Federal Rules of Civil Procedure apply to habeas corpus proceedings under
28 U.S.C. § 2254 to the extent those rules do not conflict with the statutory provisions
or rules governing § 2254 cases). But this Court has discretion to deny leave to amend
for “a ‘substantial reason’ such as undue delay, bad faith, dilatory motive, repeated
failures to cure deficiencies, or undue prejudice to the opposing party[.]” Mayeaux v.
Louisiana Health Service and Indem. Co., 376 F.3d 420, 425 (5th Cir. 2004) (citing
Foman v. Davis, 371 U.S. 178, 182 (1962)). “At some point in the course of litigation,
an unjustified delay preceding a motion to amend goes beyond excusable neglect, even
when there is no evidence of bad faith or dilatory motive.” Dueling v. Devon Energy
Corp., 623 F. App’x. 127, 130 (5th Cir. 2015) (quoting Daves v. Payless Cashways Inc.,
661 F.2d 1022, 1025 (5th Cir. 1981)). At best, Ayestas’s withholding of evidence from
the courts is plainly unjustifiable delay; at worst, it was done in bad faith. Thus, even
if Ayestas were to seek this Court’s leave to amend his petition (which he has not), no
amendment should be permitted.
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a claim, it would be barred from the Court’s consideration. See Dowthitt v.

Johnson, 230 F.3d 733, 758 (5th Cir. 2000) (holding evidence that is “easily

obtained” is barred from consideration when not presented in state court).

Indeed, any “reasonable person in [Ayestas’s] place would have,” id., developed

this evidence but he didn’t—not for seven years. Whether his delay was

intentional or neglectful, the result is the same: Ayestas sandbagged the courts

for seven years. And while the Director certainly disputes the importance or

relevance of the new argument and evidence, any protestations from Ayestas

that this evidence is crucial or dispositive only highlights his dilatoriness. That

is, the more important Ayestas believes this evidence is, the more

unreasonable he is for sitting on his hands the last seven years. There is no

possible excuse for him not looking at state habeas counsel’s files, or reaching

out to state habeas counsel, sooner. The Court should strike, or refuse to

consider, Ayestas’s attempt to inject new evidence and argument in a reply

brief seven years too late.

II.     Alternatively, the Court Should Permit the Director a Sur-Reply.

        Striking Ayestas’s new evidence and argument is warranted here. But if

the Court is disinclined to do so, then it should at least permit the Director the

opportunity to respond to Ayestas’s late-in-time arguments. Indeed, as

indicated above, courts may strike new evidence or argument raised in a reply


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brief or permit the nonmovant to file a sur-reply. See Brian R. Means,

FEDERAL HABEAS MANUAL § 8:35 (2019) (“If new material is raised for the

first time in the movant’s reply, the nonmoving party should be given an

opportunity to respond by filing a sur-reply brief, at a minimum.”). In this case,

the Director has not had a meaningful opportunity to respond to Ayestas’s

dilatory tactics. The Director thus asks that this Court remedy this matter by

striking the new argument or evidence or, alternatively, permitting the

Director to file a sur-reply within fourteen days of the Court’s order granting

leave to file.

                                CONCLUSION

      The Director respectfully requests that the Court strike Ayestas’s new

evidence and argument presented for the first time in his reply. Alternatively,

the Director requests leave to file a sur-reply within fourteen days of the Court

granting such leave.

                                     Respectfully submitted,

                                     KEN PAXTON
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                                     BRENT WEBSTER
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                                     ATTORNEYS FOR RESPONDENT


                    CERTIFICATE OF CONFERENCE

      I, Gwendolyn S. Vindell, Assistant Attorney General of Texas, do hereby

certify that opposing counsel, Lee Kovarsky, confirmed by email on August 22,

2022, that he is opposed to the Director’s motion to strike new evidence and

argument, but is unopposed to the Director’s alternative motion for leave to file

a sur-reply.

                                     s/ Gwendolyn S. Vindell
                                     GWENDOLYN S. VINDELL
                                     Assistant Attorney General




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                      CERTIFICATE OF SERVICE

     I do hereby certify that a true and correct copy of the foregoing pleading

was served by placing same in the United States Mail, postage prepaid, on this

the August 23, 2022, addressed to:

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